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        U.S. District Court for the Northern District Of Illinois
                            Appearance Form for Pro Se Litigants


Information entered on this form is required for any person filing a case in this court as a pro se
party (that is, without an attorney). Please PRINT legibly.


                  Bocock v. Dart                                                              19 CV 3877
Case Title:       ______________________                             Case Number:             _____________________


An appearance is hereby filed by the undersigned as a pro se litigant:


                         Charles Bocock
Name:                   _____________________________________________________________

                         2510 W Maypole Ave
Street Address:         _____________________________________________________________

                         Chicago, IL 60612
City/State/Zip:         _____________________________________________________________

                        224 477 0139
Phone Number:           _____________________________________________________________



                                                                                           29 August 2021
_____________________________________________                                             _______________________
                      Signature                                                           Executed on (date)




               REQUEST TO RECEIVE NOTICE THROUGH E-MAIL
If you check the box below and provide an e-mail address in the space provided, you will receive notice
via e-mail. By checking the box and providing an e-mail address, under Federal Rule of Civil Procedure
5(b)2(E) you are waiving your right to receive a paper copy of documents filed electronically in this case.
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        am waiving the right to receive a paper copy of any electronically filed document in this case. I
        understand that if my e-mail address changes I must promptly notify the Court in writing.

kingcharlesprivate@gmail.com
XXXXXXXXXXXXXXXXXXXXX kingcharlesother@gmail.com
_____________________________________________
E-Mail Address (Please PRINT legibly.)




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